                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:07cr144

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                   ORDER
                                         )
NILES BELK (2)                           )
________________________________________ )


       THIS MATTER is before the Court on the motion of counsel for the defendant

requesting an interim fee payment. (Doc. No. 53).

       For the reasons stated in the motion, the Court finds that counsel has stated a sufficient

basis to justify an interim fee payment

       IT IS, THEREFORE, ORDERED that the Motion to Permit Interim Fee Payment is

GRANTED. The amount of the payment will be determined upon submission and review of the

appropriate documentation.



                                                  Signed: December 26, 2007




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